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                                                           Exhibit A to the Complaint
Location: Vail, CO                                                                                         IP Address: 71.196.185.152
Total Works Infringed: 50                                                                                  ISP: Comcast Cable
 Work      Hashes                                                                 UTC              Site           Published     Registered   Registration
 1         Info Hash: 5C3311803A2AE6A1DC7120B54554E1AD681D4344                            04-11-   Tushy          05-26-2017    06-22-2017   PA0002039288
           File Hash:                                                                       2023
           29883293777A1F6FDDE6F0F3F351D2ECF7A69BE483B1D85610658D387F365AD0             08:55:09
 2         Info Hash: 9DCAA506FCD18CBC43374B59DCF295D275F78689                            03-07-   Blacked        02-18-2023    03-06-2023   PA0002399995
           File Hash:                                                                       2023   Raw
           41CF2342AC870E5B1224E13FEBF21489DABF19588367A5E809C47AADC4FD17FE             06:31:33
 3         Info Hash: A117040D9525C1C72653A916746A386DB3D37130                            03-07-   Blacked        03-04-2023    04-07-2023   PA0002405754
           File Hash:                                                                       2023
           E89AE637B3419055D9A517872D3068B1B628C4901856FC1E5A198F82A37D657C             06:06:22
 4         Info Hash: F399FA3E54D67D6328C274E602EBA168782B10F8                            03-07-   Tushy          02-19-2023    03-06-2023   PA0002399999
           File Hash:                                                                       2023
           CF1A612D60A58BB7B5D90F4CF13093F924F7C91914721FF5F24345C6F6829A52             06:04:53
 5         Info Hash: B1D2CE1C12DD299D4C4746CA986BB4AB65FFD52D                            03-07-   Vixen          03-03-2023    04-10-2023   PA0002405936
           File Hash:                                                                       2023
           08D68414DB8CE56E0E2B9DD81A16A3F1C07FCD452EE42EADAB5229E0F0D4391C             05:57:33
 6         Info Hash: 7F9073CA06097DA7D232E77DD05EF4988A91312B                            03-05-   Tushy          03-28-2021    04-27-2021   PA0002288947
           File Hash:                                                                       2023
           07474B7BD6BBA056FCA31DE6898C16B41654697B82865EEC9831927992159987             11:49:32
 7         Info Hash: 122F01F72618E3F202E6B427DF39A6146C5145E7                            03-05-   Blacked        02-03-2023    03-08-2023   PA0002400564
           File Hash:                                                                       2023   Raw
           7AADE55F5FE9905D4A02C68DAD508A041414ED6DAB0E11929ACBA31CE2571F43             04:40:28
 8         Info Hash: 7A9A2E1E2DCBB3A64583B95F042C029A715D4743                            02-27-   Vixen          02-24-2023    03-07-2023   PA0002400307
           File Hash:                                                                       2023
           FA1CA01F93BBC637BFED6161ED631234D467FDB502BF67C0BE5F618E1FCE3818             18:34:48
 9         Info Hash: 743B436198D58868EE90DB21DD73E45156E91E69                            02-27-   Vixen          02-03-2023    03-07-2023   PA0002400312
           File Hash:                                                                       2023
           68CAF48F7FAE60974122CFFA222A37ABFC4F3254649FB4BEB1FB67B8C19A452F             18:25:58
 10        Info Hash: BA96E0B5B972B5E2BF1B8CA350B5E650FE4A28ED                            02-27-   Vixen          02-17-2023    03-08-2023   PA0002400563
           File Hash:                                                                       2023
           5C3E98369E4A663C67579CEE0B6618B6539F9F38CA8B717196FD2AFA56F731C2             18:16:06
 11        Info Hash: 931EDC181F041A51EF95AB4B173DF50FF05E4D90                            02-27-   Blacked        01-03-2022    01-17-2022   PA0002330091
           File Hash:                                                                       2023   Raw
           2337021D54982B8B82C317D03796C8BD27D14D5F39C01BAA0D96A10647DCBF21             13:16:17
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 9C824A2D4EB747339F1B9E2E83479104BE703703                   02-27-   Tushy     12-20-2018   01-22-2019   PA0002147682
       File Hash:                                                              2023
       25127A789B678AAB59D72E0FEB5A324E362411CA5DFD19CB9943B06345C6B3A5    09:57:34
13     Info Hash: 36FD6749FE3D3133128EF029EBB265F3A1E4FF00                   02-27-   Blacked   11-14-2020   11-30-2020   PA0002266362
       File Hash:                                                              2023
       B5A87122E0781EC7708AE5554185460497AAB213DCB856A35968E05460B15041    09:52:57
14     Info Hash: D8377F22A5B76F6FE17E2C1918296688E02026EB                   02-21-   Tushy     02-14-2021   03-08-2021   PA0002280366
       File Hash:                                                              2023
       41F17368762A71E497D6DB6FBD55BEEE103180B1035CB7E017F77AAC3FF0D427    23:00:39
15     Info Hash: 8340DF7A3A5C43A154B8A190F8EB6010786137E1                   01-12-   Blacked   01-10-2020   02-04-2020   PA0002225582
       File Hash:                                                              2023
       D43189B0C9E38B7CAC6D1348B018E82246553D9F71EC7532F1A1C1F5FB5A6A10    09:03:09
16     Info Hash: 7491FD90952DDAA709B41496BD827FD16FAD5A96                   01-09-   Blacked   10-08-2022   11-01-2022   PA0002378074
       File Hash:                                                              2023
       769A5E0AD3480A5BFB9007C4D25FAD0C65BE618C95E6900009E0B3A1B8A275D1    09:05:39
17     Info Hash: F8CAD854E7DC19B53E674840B5554C76AD455AFB                   01-09-   Tushy     08-14-2022   08-30-2022   PA0002367744
       File Hash:                                                              2023
       8EA7842640D74C90BAC1D369A2072A6125C869D9F4C82073D1032E9BE86A8A6B    08:54:24
18     Info Hash: 57763A5B3583A13492A671B9919D28555796546C                   01-09-   Vixen     07-22-2022   08-30-2022   PA0002367741
       File Hash:                                                              2023
       7882436CAE07D7E0F422B3A2EE3582E944A93B99893003C4A5E586C8C2069DAC    08:42:28
19     Info Hash: 8F9D3A596AF1C39AAA440D4F826E74D61884670F                   01-08-   Vixen     12-09-2022   02-21-2023   PA0002401000
       File Hash:                                                              2023
       1588347C9067E39D797E9ADF63148F8F32E8F6CA87F28F22301A08A0324A1612    15:06:48
20     Info Hash: 37B79D5889FE5985783BA9458C88F6912DEE7A29                   01-08-   Vixen     09-24-2021   11-11-2021   PA0002321289
       File Hash:                                                              2023
       FD9180F36314B4F5A595516A24F03518B9D624AF60D2044C211118CE83C2AB94    06:06:29
21     Info Hash: 97BB06A5FAE902A8493E12B8BD16CC02E8097CD2                   12-29-   Tushy     07-05-2020   07-20-2020   PA0002248967
       File Hash:                                                              2022
       B7DDBD032732E32A3E0F430C80D430476C336107C9BC2E7E39BF104EAACA6E6B    10:27:58
22     Info Hash: B071CD0DD8D8C3104E124CAD387BECC6BB3E273F                   12-26-   Blacked   09-02-2019   09-13-2019   PA0002200702
       File Hash:                                                              2022
       AA0BC4C6FE7CD9AC6903EFE7DB520E0D4365147E432EF97207A53D67375A920A    18:54:06
23     Info Hash: F2FF5984C6669188B2BD37CF7C72FDF97A534272                   12-26-   Blacked   12-10-2022   01-10-2023   PA0002389588
       File Hash:                                                              2022
       0CEAE4FCE56CEE14A6B3E1E9424700F52EF91EDD808E8ECFBBCCF1C399A306D1    06:42:05
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: B2AA97BC79185C05C21F39C03A2EC0117FAD95D7                   12-26-   Vixen     03-04-2022   03-29-2022   PA0002342709
       File Hash:                                                              2022
       3294CDB319F6F57AEBD946B8B1B942884033D035C8A67C3BC4FFD62E99D3D89A    06:34:37
25     Info Hash: 72555676245CA53C457541455A41821330714A7A                   12-26-   Blacked   03-11-2019   03-31-2019   PA0002163979
       File Hash:                                                              2022
       4FF404477E05C99BDAB75A2082DAD57AF4A52BF2271449F1448891B4CD1A1BC9    06:32:14
26     Info Hash: 5C0D8ECA7365BEE319443F580FD34AFAA8ED2835                   12-26-   Tushy     06-30-2019   07-17-2019   PA0002188300
       File Hash:                                                              2022
       C2018683EA9532C6F7C9389AF5BC6D4E6F65B7FE41A5A5370E7EE700531F4920    06:29:31
27     Info Hash: 8964815B3EE407A3EBFECD69C9A66DF0EFAA05A3                   12-26-   Vixen     10-31-2019   11-15-2019   PA0002211917
       File Hash:                                                              2022
       A404C4B8F66F1C6C6DA9E343BD7284ACCF468243D2AE64E4053DD9675ADF39B3    06:25:58
28     Info Hash: D4414E1E954985552282EC01BA093EFC905FC4BC                   12-16-   Tushy     09-18-2022   10-05-2022   PA0002373759
       File Hash:                                                              2022
       77324052D00723989E8C099AC2AA8D3154464B79F15BA040862E8E9C49101D5B    05:52:16
29     Info Hash: 72B0F1168786EE85BDFE7815FEE833ACB0611C68                   12-16-   Tushy     01-17-2021   02-09-2021   PA0002276149
       File Hash:                                                              2022
       E615313D9ECE13DD904034EABC5993D67BA8135F472E59E4DC2D4E51BBFD0770    05:26:03
30     Info Hash: DB36A63BDF54F82FEB476FC9054466F942B5C14D                   12-13-   Blacked   10-09-2021   10-19-2021   PA0002317059
       File Hash:                                                              2022
       2AC36A6CC2AF4F2EACC724A4295EB5F19809D17B1FE1F4E5E7C96F6486AB66CD    08:10:58
31     Info Hash: 9EA31AFE28590EEB8AB3516AE38669AFDD224576                   12-13-   Blacked   07-19-2021   08-23-2021   PA0002308404
       File Hash:                                                              2022   Raw
       CBA22494F1E2EF699314BEA06731F872EA22C2AD33EBBC5C491266EBEE51531D    08:05:24
32     Info Hash: EA17D56FFCD461E84C480DE89F0B1F8829C22549                   12-13-   Blacked   04-23-2022   05-20-2022   PA0002350376
       File Hash:                                                              2022
       6C62E64CF42E3D091707F5E10FFABBD252FAA6EAC135265C58258003AD6A1C27    07:58:48
33     Info Hash: 71C2517E55C86AFDAAFBF4008A586150D4B624CB                   12-13-   Tushy     08-01-2021   09-30-2021   PA0002320423
       File Hash:                                                              2022
       FA81833FBE4D1F9BAB7D3296DA72E7F96DE460F82C9ECCC3679182E5F3651E1E    07:58:48
34     Info Hash: D868AF75E88D4458311F4BB5882BC2C292DF8E86                   12-13-   Vixen     04-02-2021   06-09-2021   PA0002295593
       File Hash:                                                              2022
       AF2CA8B2EBA9FFD844C570A0AEE3DCA505B5F667FDF16D8CAF4A4FDD1F5F0581    07:58:28
35     Info Hash: D99DDE80E2B27CF679D291584C534BE412D77C36                   12-13-   Blacked   09-13-2021   11-11-2021   PA0002321292
       File Hash:                                                              2022   Raw
       0B102FEDF60A6A7AACC14D3016D76C51BF79AA0DCC905FAFD49E9C320F0EEA05    07:58:26
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: B5BAA098A77422344BC39043B8E6412B388993D7                   12-13-   Tushy     08-28-2022   11-01-2022   PA0002378076
       File Hash:                                                              2022
       31E176319CABF1B114491288482342D142C63BC353EFF7A6F5DFED3A579D3886    07:58:20
37     Info Hash: 57D38984B201F44F8712EBFB996E659BB0298148                   12-13-   Vixen     08-19-2022   08-30-2022   PA0002367752
       File Hash:                                                              2022
       D83539C6D18437AECC449DBF1FBC2782151D08C938DB1169AEB616391BD7EA15    07:58:20
38     Info Hash: EC40852D6DAF26790A6256DD34017213CD1756BF                   12-13-   Blacked   01-29-2022   02-14-2022   PA0002335485
       File Hash:                                                              2022
       D7973478B39F77F9FD87444AD83D272C340EFE1590C85CC40F93A503B7B38A61    07:58:20
39     Info Hash: 8340EBD31C10365E5407D21282F5AD8A1D354E4B                   12-13-   Vixen     11-18-2022   12-11-2022   PA0002384397
       File Hash:                                                              2022
       DE6A8F4B4BA0D4FB4F01222EEEF2B5CD21DBD18ABF13B5030477AFBD4BB1A9E2    04:54:01
40     Info Hash: 155F9C2D065D97AE8B30367E00650A8D9452E6A2                   12-08-   Blacked   09-13-2021   10-05-2021   PA0002315289
       File Hash:                                                              2022
       2458FBF03E1CA2761B208151E25DB463C4FC20B3D305DA40A6198E112484882A    05:41:06
41     Info Hash: CC624B99131D20A815AC7138FEF12826FDE1BB3B                   12-08-   Tushy     05-22-2022   06-27-2022   PA0002355029
       File Hash:                                                              2022
       55443CFF57394DA9C5E24B38F92A1FE43B6539CF45A638197AD61738FD75A065    05:11:28
42     Info Hash: 0AC2423E872BB3B635429E357CE906B11640F3E7                   12-08-   Blacked   01-15-2022   02-14-2022   PA0002335487
       File Hash:                                                              2022
       A422337188210233A1C691438340FD0088FB928A78C5A17541CF59BD47C6E1D9    05:07:40
43     Info Hash: 39BA1DA7C78AE03C6F19AE07D392A16A6A86AFC6                   12-08-   Vixen     12-03-2021   12-09-2021   PA0002325832
       File Hash:                                                              2022
       59A6B92CB846021BF6DD034F499F0881873AF105006842356C756C1A778535F9    05:05:56
44     Info Hash: 47AD03C8D52ABE80EACBC45DFE19920690847495                   12-08-   Tushy     12-04-2022   01-10-2023   PA0002389591
       File Hash:                                                              2022
       D385563492370281E9B99763CAB97C873EC2B1A0F4E90BE5B28C206EDC252A43    04:59:21
45     Info Hash: C23B9D94C3B7F041233843C843364B3DA0B82D54                   12-03-   Blacked   07-04-2020   07-20-2020   PA0002248966
       File Hash:                                                              2022
       443DD6276022FAFA560EA4942A0DE08B099B5BD4E81AC12CFA2B6F336A89E0C9    19:01:21
46     Info Hash: C3FB7277333208A9A5A6875DFC848D49EBF63316                   12-03-   Blacked   03-27-2021   04-27-2021   PA0002288945
       File Hash:                                                              2022
       62B9ECD5B5E4215A3A277FABECFAD4106237E5194C3DC0491B94AF579227FACE    09:46:12
47     Info Hash: C6C37AE276F78A41F09A036DAD4CE1180C41CA73                   12-02-   Blacked   06-04-2022   06-27-2022   PA0002354990
       File Hash:                                                              2022
       0467A8099A6D1C5CEF004A827BA0B8EE4FB9CCED20F6182AFD5D826BD0B9EE6A    15:27:29
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Work   Hashes                                                             UTC       Site      Published    Registered   Registration
48     Info Hash: E45A9D920F75658166DD2316DE325185CDC5A1EF                   12-02- Tushy     03-17-2018   04-17-2018   PA0002116750
       File Hash:                                                              2022
       22A7884B573B724CC6966A9433F58317AF76D344DD09A8B0E17453EEAB851D73    15:27:25
49     Info Hash: 16A48B7A92A444DC78ECE6EEF12C584E71C8518B                   12-02- Vixen     01-07-2022   01-17-2022   PA0002330115
       File Hash:                                                              2022
       D6B0942D7A010E755C88F46FC028DC1480211AF742A96DB58CAAD66B7C9DDA89    09:20:24
50     Info Hash: C1A09FF87B113D6F9CE5E60802303754711EAB39                   12-02- Blacked   12-31-2019   01-27-2020   PA0002223957
       File Hash:                                                              2022
       A6F61A75F0D5E3097F814E281CEC308256473BBA60C103FD58C841794D8841EA    09:20:14
